CASE 0:17-cv-00103-RWP Doc. 1-4 Filed 01/10/17 Pops F

CEIVED

: JAN 10 2017
IN THE UNITED STATES DISTRICT COURELerK. US. DIST
FOR MINNESOTA ST. PAUL, MINNESOIS
JOHN WESTLEY
Plaintiff, — caseNno- [Fev 1°32 MT2/BR 7
JURY TRIAL DEMANDED
vs. Removed Court File Case #-27-TR-CV-16-89

HENNEPIN COUNTY-4" DISTRICT COURT, et al
GEORGE F. BORER, et al
JUSTIN H. JENKINS, et al
WINTHROP & WEINSTINE, et al
E. BURKE HINDS, et al
INRELEX LAW GROUP, et al
FINANCE & COMMERCE INC., et al
RICHARD D. SLETTON, et al
THRIFTY WHITE PHARMACY, et al
Defendants,

)
COMPLAINT AND REQUEST FOR INJUNCTIVE RELIEF

Plaintiff herein, with private United States citizen standing, files this action seeking trial
by Jury and open court hearings for violations of Federal laws and Constitutional protections as a

named trustee and beneficiary to the assets and matters at issue in this Complaint and Request for

Injunctive Relief. At issue in this action is the immoral unlawful acts perpetrated against
Plaintiff's 89 year old Mother’s personal assets, private dignity and civil right freedoms by
Defendants and their co-conspirators by illegal means in violation of Federal statutes, the laws of
nature and standards of human decency.

Pursuant to 28 U.S.C. §§ 1331, 1367, 1441, and 1446, Respondent(herein known as
Plaintiff) John Westley removed this underlying action from the Hennepin County Minnesota
Fourth District Court to the United States District Court for Minnesota(#-27-TR-CV-16-89
Doc.ID#13&15-Exhibits Attached).

Removal was based on USDC jurisdiction due to disputed federal questions, multiple state
diversity grounds, Constitutional civil rights issues and precedential Federal Court related cases
that appear in the causes of action of the initial pleading filed by Petitioners Hultman and Olsen.
As declared in the notice, grounds for removal and previous filings Plaintiff states in this

Complaint and Request for Injunctive Relief as follows:

SCANNED
1 JAN 4.0 2017

. U.S. DIS FRICY COURT $1. PAUL
CASE 0:17-cv-00103-RWP Doc. 1-4 Filed 01/10/17 Page 2 of 23

PARTIES
PLAINTIFF:

JOHN WESTLEY
P.O. Box 346
Panama City FL 32402

DEFENDANTS:

HENNEPIN COUNTY-4th DISTRICT COURT, et al
300 South 6th St
Minneapolis, MN 55487

GEORGE F. BORER, et al
300 SOUTH SIXTH STREET C-400
MINNEAPOLIS, MN 554870340

FINANCE & COMMERCE INC., et al
222 South 9th Street-Suite 2300
Minneapolis, MN 55402

THRIFTY WHITE PHARMACY, et al
6055 Nathan Lane N-Suite 200
Plymouth, MN 55442

WINTHROP & WEINSTINE, et al
225 S 6th St. #3500
Mpls., MN 55402-4629

JUSTIN H. JENKINS, et al
225 S 6th St. #3500
Mpls. MN 55402-4629

E. BURKE HINDS
708 Cleveland Ave. SW, Suite 103
New Brighton, MN 55112

INRELEX LAW GROUP, et al
708 Cleveland Ave. SW, Suite 103
New Brighton, MN 55112

RICHARD D. SLETTEN, et al
300 S 4th St #600
Minneapolis, MN 55415
CASE 0:17-cv-00103-RWP Doc. 1-4 Filed 01/10/17 Page 3 of 23

FEDERAL JURISDICTION & VENUE

The removed underlying action alleges claims against the Plaintiff that are governed under
the Federal Securities Exchange Act, Investment Advisors Act, Consumer Protection Act,
RESPA, STARK law, Medicare Act, Anti-Kickback Act and the Whistleblowers Protection Act.
Defendant’s actions attempted to deny Plaintiff Constitutional Civil Rights due process
protections and Freedoms of Speech and Freedoms to Associate with Federal law enforcement.
Therefore, federal question jurisdiction exists over Plaintiff’s claims and relief requests under 28
U.S.C. § 1331 because the resolution of stated claims will require adjudication of disputed
questions of Federal laws and Constitutionally protected civil rights.

To the extent the lower court action alleges statutory, state common law or other non-federal
claims, this Court maintains supplemental jurisdiction over any such claims under 28 U.S.C. §
1367 due to those claims arising out of the same operative facts as claims governed under

Federal Securities Exchange Act, Investment Advisors Act, Consumer Protection Act, RESPA

STARK laws, Medicare Act, and Anti KickBack/Whistleblowers Protection Acts and “form part .

of the same case or controversy under Article III of the United States Constitution.” 28 U.S.C. §
1367(a). .

Since the removal notice filings, Defendants have further colluded and conspired to deny
Plaintiff Constitutionally protected due process to access Federal Courts for timely relief and
restitution from civil rights violations.

Because Plaintiffs’ claims involve the governing laws of the United States, removal of this
entire cause of action is appropriately required under 28 U.S.C. § 1441(a)-(c) and the Federal
Courts Jurisdiction and Venue Clarification Act. .

Irreparable injuries regarding assets and federal claims in question exceed $75,000 which
requires determination by a required United States District Court Jury demanded as a matter of
Constitutional due process justice civil right. Venue is proper as the majority of parties and
assets in question are based within jurisdiction of this Federal District.

PRECEDENTIAL MULTI-CASE DIVERSITY

On July 15th, 2016, well prior to the removed court case filing, Plaintiff filed a civil
USDC whistleblower action in the Northern District of Florida (Case # 5:16-CV-206) regarding
subject matter banking fraud by BOA involving Petitioner Olsen’s employer Coldwell Banker.
CASE 0:17-cv-00103-RWP Doc. 1-4 Filed 01/10/17 Page 4 of 23

Plaintiff has previously cooperated with Federal law enforcement against the treasonous ethical
acts of officers of this Court regarding public corruption matters involving USDC cases alleged
in the underlying petition. As such, this precedential multiple diversity higher court jurisdiction
supersedes any lower court standing regarding disputed causes of action at issue governed by
Federal laws, codes, and statutes. Removal was required under separate independent grounds for
subject-matter jurisdiction regarding diversity and disputed Federal questions at issue.

The publicly corrupt civil rights due process violations of the clerk and officers of this
Court regarding the improper docketing of the removal notices are outlined in the Complaint and
requests for Injunctive Relief.

BACKGROUND

1. This removed case was originally filed by in Hennepin County Minnesota Fourth District
Court, on August 30", 2016. In accordance with 28 U.S.C. § 1446(a), a copy of all process,
pleadings and orders received by the Plaintiff were provided to this Court with the Notices of
Removal filed on 10/11/16.

2. In their filed pleadings, Petitioners, Defendants Jenkins and Winthrop Weinstine allege that
Plaintiff has been uncooperative due to communicating and associating with Department of
Justice(DOJ) investigators, Security and Exchange Commission(SEC File #005507928)
regulators, the Federal Bureau of Investigation(FBI) and the United States Attorney
Office(USAGO) regarding reported fraudulent acts by BOA, Merrill Lynch, Hultman and court
officers. According to the Petition filings, Plaintiffs protected civic duty cooperation with
Federal law enforcement breached agreements, disrupted, and interfered with unlawful acts that
Petitioners conducted for personal financial illicit gain. For the record, the USDC case citations
in the petition involved convicted felons as lead defendants and disbarred court officers from
Federal criminal actions in which Plaintiff provided whistleblower cooperation as an injured
witness.

3. With their filed allegations citing other ongoing USDC civil cases and whistleblower criminal
actions involving publically corrupt, convicted felonious governmental employees and disbarred
court officers, Defendants Jenkins and Winthrop Weinstine on behalf of their clients further
frivolously claimed, among other incoherent, incorrect, and irrational matters, that the Plaintiff
failed to uphold fiduciary responsibilities’ by refusing to participate in the administration of

unlawful acts that are in known violation of Federal laws, codes and statutes.
CASE 0:17-cv-00103-RWP Doc. 1-4 Filed 01/10/17 Page 5 of 23

4. As part of those filings, Defendants Hennepin County-4" District Court, Borer, Jenkins, and
Winthrop Weinstine scheduled a public hearing for October 12, 2016 listing Plaintiff's living
Mother as “DECEDENT”(#-27-TR-CV-16-89 Doc. ID#5).

5. In early September 2016, upon knowledge of the defaming court claims that Plaintiff's Mother
was dead, Defendants Hennepin County-4th District Court, Borer, Jenkins, Winthrop Weinstine,
Hinds, and Inrelex Law Group were contacted by the Plaintiff and other concerned parties
demanding that the public record be corrected to reflect the fact that Plaintiff's Mother was alive.
6. Defendants Hennepin County-4th District Court, Borer, Jenkins, Winthrop Weinstine, Hinds,
and attorneys of record Inrelex Law Group refused to make any corrections to court records
listing Plaintiff's Mother as “DECENDENT” and willfully proceeded to libelously publish a
death notice hearing thru Defendant’s Finance & Commerce nationally accessed publications on
September 13, 2016(#-27-TR-CV-16-89 Doc.ID#7).

7. Due the outlined incompetence, malfeasance, defamation, libel, and civil rights violations, on
October 11, 2016 Plaintiff jurisdictionally removed any further actions to the USDC and was
unlawfully induced by Defendants Hennepin County-4th District Court, Borer and their
representative agents to pay an interstate transaction fee of $324 for the Federal removal.
Plaintiff was then provided court docketing records from Defendants Hennepin County-4th
District Court, and Borer cancelling any hearings and closing the case due to the Removal to
Federal Court.

8. Upon receipt of this information, Defendants Jenkins, Winthrop Weinstine, Hinds, and Inrelex
Law Group proceeded to further obstruct due process justice by contacting Defendant Sletten to
prevent the accurate timely docketing of the Removal to Federal Court Notice USDC filings
_ thereby requiring Injunctive Relief. .

9. Defendant Sletten, as whistleblower retribution for Plaintiff's public exposure of local public
corruption and unlawful docket filings alterations involving lead Defendant Hennepin
County((USDC MN — 15-CV-02671-Document#128), then conspired and colluded with
Defendants Hennepin County-4th District Court, Borer, Jenkins, Winthrop Weinstine, Hinds,
and Inrelex Law Group to deny Plaintiff Constitutional due process civil right protections to
equally access Federal Courts for relief and restitution from Federal Court officers.

10. Plaintiff has been subsequently informed by Defendant Sletten’s staff that due to the
confusion between several other USDC-MN cases and the USDC-FL case involving the

CASE 0:17-cv-00103-RWP Doc. 1-4 Filed 01/10/17 Page 6 of 23

Plaintiff, the removal documents filed were erroneously transferred and/or placed on hold
pending clarification from the appropriate Federal Court of jurisdiction. Plaintiff had previously
been granted Electronic Court Filing(ECF) access in the local USDC cases in question yet was
never provided any ECF correspondence or notices regarding transfer/clarification issues from
Defendant Sletten, as clerk of this Court, due to the obstructions of justice caused by Defendants
Hennepin County-4th District Court, Borer, Jenkins, Winthrop Weinstine, Hinds, and Inrelex
. Law Group in violation of the Constitution of the United States of America and Federal Rules of
Civil Procedure.
11. Despite the docketed Removal Notice, Affidavit of Service Filing(#-27-TR-CV-16-89
Doc.ID#15) and case closing notice provided by the Plaintiff to Defendants Hennepin County-
Ath District Court; Borer, Jenkins, Winthrop Weinstine, Hinds, and Inrelex Law Group on
December 5", 2016 conspired to schedule a hearing in the lower court for January 11, 2017 in an
unlawful attempt to deny Plaintiff Federal Court claim jurisdictional due process civil rights
justice. These Defendant illegal acts were conducted thru publicly corrupt bribes, quid pro quo
kickbacks and professional favors in violation of judicial ethics and Federal law thereby causing
damage to Plaintiffs interests thereby requiring Injunctive Relief.
12. Immediately prior to the Removal to Federal Court filings, Plaintiff and patriotic
whistleblowers conducted an audit of Defendant Thrifty White Pharmacy statements and bills to
Plaintiff's Mother regarding Medicare fraud overcharges and STARK law/Anti-Kickback Act
violations. These over billings and other fraudulent property homestead claims were proposed to
Plaintiff by Defendants Winthrop Weinstine, Hinds, Inrelex Law Group and their representative
agents for signatory approval regarding Federal tax deduction IRS filings made under penalties
of perjury. Plaintiff refused to participate in the illegal tax fraud Federal filings and reported this
subornation of perjury by Defendants Winthrop Weinstine, Hinds, Inrelex Law Group and their
representative agents to appropriate law enforcement authorities. As retribution for not
participating in Medicare and tax fraud, Plaintiff was then was sued in Defendant Hennepin
County-4th District Court directly violating several Federal whistleblower private citizen
protections laws, IRS rules and taxpayer regulations.
13. As declared in the removed case petition and SEC complaint filings, Defendants Hinds and
Inrelex Law Group were paid in excess of $25,000 from Plaintiffs Mother to correct issues

regarding Plaintiff powers of attorney(POA) provided on behalf of his Mother. Due to unlawful
CASE 0:17-cv-00103-RWP Doc. 1-4 Filed 01/10/17 Page 7 of 23

acts as outlined in the SEC complaint, Bank of America(BOA) froze the accounts of Plaintiff's
Mothers and have now blamed Hultman, Defendants Hinds and Inrelex Law Group and their
representative agents for malpractice, fraud, and negligence as proffered in the statement of
claims. The disputed issues of material facts in those claims include forged faxed documents of
Plaintiff's signatures regarding doctored POA’s and BOA agreements that were transmitted via
interstate commerce from Florida to Minnesota.

14. Defendants Hinds and Inrelex Law Group, as the attorney of records for Plaintiff's Mother
had fiduciary, ethical and professional obligations to protect the assets of their client. Despite
repeated demands from Plaintiff and affected parties, from November 2015 until April 2016
Defendants Hinds and Inrelex Law Group refused to secure the collectibles at the residence of
the Plaintiff's Mother. Upon subsequent collection audit by Plaintiff it was discovered several
valuable memorabilia pieces appraised in excess of $75,000 were missing from the residence. A
local police report was filed on May 26, 2016(Bloomington Incident Number: BP16-004903) and
a multi-state theft State Farmers Insurance claim is under current loss/fraud 18 U.S. Code § 2314
investigation.

15. In late November 2015, Plaintiff was induced by Defendants Hinds and Inrelex Law Group
to sign a temporary notice of incapacitation so that Plaintiff's Mother could receive 30 day
respite care and independent medical evaluation. Since those understandings have not been met,
Plaintiff on October 27, 2016, by docketed case filings(Exhibit Attached), informed Defendants
Hennepin County-4th District Court and Borer that the incapacitation determination was
fraudulently obtained, immediately withdrawn and legally invalid. Defendants Hennepin
County-4th District Court and Borer, to date, have refused to acknowledge the fraudulent
inducements to cover-up for the malpractice of fellow publicly corrupt court officers Defendants
Jenkins, Winthrop Weinstine, Hinds and Inrelex Law Group thereby requiring Injunctive Relief.
16. Since June 30°, 2016 Defendants Jenkins, Winthrop Weinstine, Hinds and Inrelex Law
Group and their representative agents have interfered by preventing the release of over $75,000
in entitled donations to Plaintiff's designated IRS approved 501c Florida charitable organizations
developing stem cells treatments and cures for elderly American citizens.

17. On January 4, 2017 pursuant to USDC-MN Local Rule 7.1 Injunctive Relief requirements,
Plaintiff in good faith conferred with Defendants Jenkins and Winthrop Weinstine to settle

outstanding matters in the removed action. As proffered, all affected parties agreed to install
CASE 0:17-cv-00103-RWP Doc. 1-4 Filed 01/10/17 Page 8 of 23

Bremer Financial Services as a professional corporate trustee on behalf the interests of Plaintiff's
Mother therein mitigating further damages by Defendants Hinds and Inrelex Law Group.
18. Plaintiff's good faith settlement requests were prevented by Defendants Jenkins and
Winthrop Weinstine demands for $55,000 in legal fees recoupable from Plaintiff's Mother and
her son who was protecting her personal financial family interests and the laws of the United
States of America. The outlandish, abusive, retributive and vexatious legal fees claims being
demanded are for the filing of a single pre-hearing petition, with no discovery expenses or
depositions costs, or additional disbursements incurred.

. STATEMENT OF CLAIMS
Pursuant to FRCP Injunctive Relief Rule 65 & Rule 12(b)(6)-statement of claims upon which

relief may be sought and granted; Plaintiff herein incorporates the above pleadings, all public
filings from the referenced SEC complaint, related underlying Hennepin County-4" District
Court removed action records, and any referenced USDC case documents regarding claims upon
which Constitutional relief is herein sought and Federal punitive restitutions are required to be
specifically determined against each Defendant party, their beneficiary relations and
representative agents as such:

COUNT I-NEGLIGENCE
¢ Defendant Thrifty White Pharmacy negligently overcharged Plaintiffs Mother and United
States taxpayer subsidized Medicare drug programs in violation of Federal law, codes and
regulations causing monetary damages.
¢ Defendant Commerce & Finance negligently published a national death notice for Plaintiff's
living Mother causing reputation and monetary damages.
* Defendant Sletten negligently failed to properly docket Plaintiff's removal records and filings
as required under public mandates, US Code and the Federal Rules of Civil Procedure causing
procedural monetary damages.
¢ Defendants Hennepin County-4th District Court, Borer, Jenkins, Winthrop Weinstine, Sletten,
Hinds and Inrelex Law Group and their representative agents negligently allowed the publishing

of a national death notice for Plaintiffs living Mother causing reputation and monetary damages.

CASE 0:17-cv-00103-RWP Doc. 1-4 Filed 01/10/17 Page 9 of 23

COUNT II-FRAUD
* Defendant Thrifty White Pharmacy fraudulently overcharged Plaintiff's Mother and United
States taxpayer subsidized Medicare drug programs in violation of Federal law, codes and
regulations causing monetary and reputation damages.
* Defendant Commerce & Finance nationally published a fraudulent death notice for Plaintiff's
living Mother causing monetary and reputation damages.
¢ Defendant Sletten committed contemptuous fraud upon against the Plaintiff, this Court and
United States taxpayers by failing to properly docket removal records as publicly mandated by
U.S. Code and required under the Federal Rules of Civil Procedure causing reputations and
monetary damages.
¢ Defendants Hennepin County-4th District Court, Borer, Jenkins, Winthrop Weinstine, Sletten,
Hinds and Inrelex Law Group and their representative agents committed contemptuous fraud
upon against the Plaintiff, this venue and United States taxpayers by obstructing proper docket
removal filings governed by U.S. Codes and Federal Rules of Civil Procedure causing reputation
and monetary damages.

COUNT III-UNJUST ENRICHMENT

* Defendant Thrifty White Pharmacy was unjustly enriched by overcharging Plaintiff's Mother
and United States taxpayer subsidized Medicare drug programs in violation of Federal law, codes
and regulations causing monetary and reputation damages.
¢ Defendant Commerce & Finance were unjustly enriched for publishing an erroneous national
death notice for Plaintiff's living Mother causing monetary and reputation damages.
* Defendants Jenkins, Winthrop Weinstine, Sletten, Hinds and Inrelex Law Group were unjustly
enriched from Plaintiff's Mother for conducting unethical fraud, obstructing of due process
justice and committing contemptuous Court violations of Federal laws and FRCP requirements
causing monetary and reputation damages.

COUNT IV-DEFAMATION
* Defendant Commerce & Finance defamed Plaintiff's family name by publishing an erroneous
national death notice for Plaintiff's living Mother causing reputation and monetary damages.
* Defendants Hennepin County-4th District Court, Borer, Jenkins, Winthrop Weinstine, Sletten,
Hinds and Inrelex Law Group and their representative agents defamed Plaintiff's family name by

CASE 0:17-cv-00103-RWP Doc. 1-4 Filed 01/10/17 Page 10 of 23

filing, docketing and/or allowing the publication an erroneous national death notice for
Plaintiffs living Mother causing reputation and monetary damages.

. . COUNT V-LIBEL
* Defendant Commerce & Finance libeled Plaintiff's family name by publishing an erroneous
national death notice for Plaintiff's living Mother causing reputation and monetary damages.
¢ Defendants Hennepin County-4th District Court, Borer, Jenkins, Winthrop Weinstine, Sletten,
Hinds and Inrelex Law Group and their representative agents libeled Plaintiffs family name by
causing and/or allowing the publication an erroneous national death notice for Plaintiff’s living

Mother causing reputation and monetary damages.

f

COUNT VI-COLLUSION .
* Defendants Hennepin County-4th District Court, Borer, Jenkins, Winthrop Weinstine, Sletten,
Hinds and Inrelex Law Group and their representative agents colluded to deny Plaintiff
Constitutionally protected civil due process rights to equally access United States District Courts
seeking relief for violations and damages under Federal jurisdiction causing reputation and
monetary damages.
¢ Defendants Hennepin County-4th District Court, Borer, Jenkins, Winthrop Weinstine, Sletten,
Hinds, Inrelex Law Group and Commerce & Finance colluded cause reputation and monetary
damages by publish an erroneous national death notice for Plaintiff's living Mother as retribution
for Plaintiff's previous whistleblower cooperation with Federal law enforcement that led to
felony convictions of their fellow publicly corrupt employees and the disbarment of their fellow
court officers. .

COUNT VII-INDUCEMENT

* Defendants Hinds and Inrelex Law Group illicitly induced Plaintiff to sign a temporary notice
of incapacitation of which the subsequent withdrawal was not legally acknowledged by
Defendants Hennepin County-4th District Court, Borer, Jenkins and Winthrop Weinstine who
claimed the Plaintiff's living Mother was a “DECEDENT” thereby causing reputation and
monetary damages.
¢ Defendants Hennepin County-4th District Court, Borer and their representative agents

unlawfully induced Plaintiff to pay an unnecessary interstate transaction fee of $324 for

10
CASE 0:17-cv-00103-RWP Doc. 1-4 Filed 01/10/17 Page 11 of 23

jurisdictionally removing a local underlying case to Federal court causing reputation and
monetary damages.

COUNT VIII-TORTIOUS INTERFERENCE
* Defendants Jenkins, Winthrop Weinstine, Hinds and Inrelex Law Group and their
representative agents have tortuously interfered with donations and support to Plaintiff's
designated IRS approved 501c charitable organizations that are developing stem cells treatments

and cures for elderly American citizens causing reputation and monetary damages.

COUNT IX-MALPRACTICE
¢ Defendants Borer, Jenkins, Sletten, Winthrop Weinstine, Hinds and Inrelex Law Group, as
publicly licensed attorneys and/or officers of the court, have committed gross malpractice against
the interests of the Plaintiff and taxpayers of the United States of America causing monetary

damages and unpatriotic treasonous sedition upon the Constitution.

COUNT X-RETRIBUTION
¢ Defendants Hennepin County-4th District Court, Borer, Jenkins, Winthrop Weinstine, Sletten,
Hinds and Inrelex Law Group and their representative agents have committed various outlined
retributive acts against the Plaintiff and Plaintiff's associates causing monetary harm, reputation

injury and professional damages.

REQUEST FOR INJUNCTIVE RELIEF

_- A declaratory and permanent jurisdictional injunction against Defendants Hennepin County-4th
District Court and Borer from conducting any proceedings regarding Plaintiffs living Mother
until the Federal matters in this action until they fully adjudicated by due process public hearing
and trial by a Jury of United States citizen taxpayers.

- A declaratory and permanent injunction removing named Defendants Hinds and Inrelex Law
Group as the attorneys of record for Plaintiff's Mother due to causes outlined in this action and
as material fact witnesses with personal liability conflicts of interests.

- A declaratory and permanent injunction against third parties from preventing Plaintiff's Mother

a dignified civil human rights say in her personal affairs and health care.

11

CASE 0:17-cv-00103-RWP Doc. 1-4 Filed 01/10/17 Page 12 of 23

- A declaratory and permanent injunction preventing Defendant Sletten and his representative
agents from further altering any Plaintiff USDC Federal public filings.

- A requirement that the removed case files be wholly transmitted(with required redactions) to
this action by Defendants Hennepin Count-4" District Court and Sletten so that complete and

meritorious pleadings can be made by all parties based upon a full public record.

REQUEST FOR DAMAGE RELIEF
Plaintiff requests actual damage relief from each Defendant party in excess of $75,000 as to be
determined and awarded by a Jury of United States citizen taxpayers. Plaintiff further requests
the release and transmittal of all pending donations to Plaintiff's designated IRS approved 501c
charitable organizations developing stem cells treatments and cures for elderly American
citizens.
REQUEST FOR PUNITIVE RELIEF

Plaintiff requests punitive damage relief from each Defendant party in in excess of $75,000 as to
be determined and awarded by a Jury of United States citizen taxpayers. Further Plaintiff
requests the disbarment of publicly licensed attorneys Borer, Jenkins, and Hinds for fraudulent
unlawful acts outlined in this case.

REQUEST FOR COSTS & DISBURSEMENTS
Plaintiff requests reasonable reimbursements for legal costs, fees, disbursements, and travel
expenses outlaid to protect Plaintiff’s private civil rights and personal interests as outlined
herein. Plaintiff further requests that a Jury of United States citizen taxpayers determines the

taxation of said expenses upon responsible beneficiaries and Defendant officers of this Court.

Plaintiff herein requests Whistleblower Act protections and reserves all rights to amend

these pleadings pursuant to the Federal Rules of Civil Procedure based upon new information

CASE 0:17-cv-O010R RMP Re det Hiegegt/ 1027 [PdertseiB MTD »/ BRT

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by Jaw, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. GEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM)

J. (a) PLAINTIFFS DEFENDANTS

JOHN WESTLEY HENNEPIN COUNTY-4th DISTRICT COURT, et al GEORGE F. BORER, et al
JUSTIN H. JENKINS, et al WINTHROP & WEINSTINE, e
E. BURKE HINDS, et al INRELEX LAW GROUP, et al INANCE &
COMMERCE INC.. et.al

County of Residence of First Listed Defendant

JS44 (Rev. 08/16)

(b) County of Residence of First Listed Plaintiff BAY Hennepin

(EXCEPT IN U.S. PLAINTIFF CASES) (IN U.S. PLAINTIFF CASES ONLY)
NOTE: INLAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVE
(c) Attemeys (Firm Name, Address, and Telephone Number) Attorneys (if Known)

P.O. Box 346
Panama City FL 32402

RECEIVED

JAN 10 2017

I. BASIS OF JURISDICTION (Place an “X” in One Box Only)

(11 U.S. Government 2J3 Federal Question

(For Diversity Cases Only)

CLERK,

DEF

I. CITIZENSHIP OF PRINCIPAL PARTIES (lace an “X” in One Bax for Plaintiff
U.S TRIG BOR

1 incorporated pA Ml INNESOTA 4 fa

Plaintiff (U.S. Government Not a Party) Citizen of This State O11
. of Business In This State
XJ2 U.S. Government 4 Diversity Citizen of Another State 2 (© 2 Incorporated and Principal Place os ds
Defendant (indicate Citizenship of Parties in Item If) of Business In Another State
Citizen or Subject of a O13 (CO 3. Foreign Nation Ole 16
Foreign Country
IV. NATURE OF SUIT (lace an 0x” in One Box Only) Click here for: Nature of Suit Code Descriptions.
| CONTRACT TORTS FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES ]
(2110 Insurance PERSONAL INJURY PERSONAL INJURY [1625 Drug Related Seizure (1422 Appeal 28 USC 158 (J 375 False Claims Act
(1120 Marine [J 310 Airplane (11365 Personal Injury - of Property 21 USC 881 |[]423 Withdrawal C1 376 Qui Tam (31 USC
[1130 Miller Act (1 315 Airplane Product Product Liability (1690 Other 28 USC 157 372%a))
140 Negotiable Instrument Liability (1 367 Health Care/ C1 400 State Reapportionment
[1150 Recovery of Overpayment {[] 320 Assault, Libel & Pharmaceutical PROPERTY RIGHTS CO 410 Antitrust
& Enforcement of Judgment Slander Personal Injury [1820 Copyrights C1 430 Banks and Banking
{J 151 Medicare Act () 330 Federal Employers’ Product Liability (1830 Patent 1 450 Commerce
(152 Recovery of Defaulted Liability [51368 Asbestos Personal (840 Trademark C1 460 Deportation
Student Loans | (-) 340 Marine Injury Product C1] 470 Racketeer Influenced and
(Excludes Veterans) (1) 345 Marine Product Liability __ LABOR SOCIAL SECURITY. Corrupt Organizations
(1153 Recovery of Overpayment Liability PERSONAL PROPERTY ][_]710 Fair Labor Standards (1861 HIA (1395ff) CJ 480 Consumer Credit
of Veteran’s Benefits [J 350 Motor Vehicle 370 Other Fraud Act (1862 Black Lung (923) CI 490 Cable/Sat TV
(1160 Stockholders’ Suits (0 355 Motor Vehicle (1371 Truth in Lending (1720 Labor/Management (1863 DIWC/DIWW (405(g)) |] 850 Securities/Commodities/
190 Other Contract Product Liability (1 380 Other Personal Relations (1 864 SSID Title XVI Exchange
[1195 Contract Product Liability [[] 360 Other Personal Property Damage [1740 Railway Labor Act [1865 RSI (405(g)) EX 890 Other Statutory Actions
(196 Franchise Injury (1385 Property Damage (1751 Family and Medical CJ 891 Agricultural Acts
(C1 362 Personal Injury - Product Liability Leave Act / C1 893 Environmental Matters
Medical Malpractice ___}[1790 Other Labor Litigation (1) 895 Freedom of Information
| REAL PROPERTY CIVIL RIGHTS PRISONER PETITIONS |[1791 Employee Retirement FEDERAL TAX SUITS Act
{_}210 Land Condemnation 440 Other Civil Rights Habeas Corpus: Income Security Act 11870 Taxes US. Plaintiff (0 896 Arbitration
(11220 Foreclosure (0 441 Voting (463 Alien Detainee or Defendant) [D) 899 Administrative Procedure
£1230 Rent Lease & Ejectment {[-] 442 Employment C1 510 Motions to Vacate (1871 IRS—Third Party Act/Review or Appeal of
[1240 Torts to Land CO 443 Housing/ Sentence 26 USC 7609 Agency Decision
(1245 Tort Product Liability Accommodations (530 General CO 950 Constitutionality of
(1290 Alt Other Real Property [7] 445 Amer. w/Disabilities - |] 535 Death Penalty IMMIGRATION State Statutes
Employment Other: 11462 Naturalization Application
(2 446 Amer. w/Disabilities - |] 540 Mandamus & Other |[1465 Other Immigration
Other (2 550 Civil Rights Actions
( 448 Education (1 555 Prison Condition
(1 560 Civil Detainee -
Conditions of
Confinement
V. ORIGIN (Place an “X" in One Box Only) .
pg! Original §q2 Removed from 3 Remanded from 4 Reinstated or 5 Transferred from 6 Multidistrict pqy8 Multidistrict
Proceeding State Court Appellate Court Reopened. Another District Litigation - Litigation -
(specify) Transfer Direct File

Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
US Constitution Civil Rights, Federal Securities Exchange Act, Investment Advisors Act, Consumer Protection Act, RESPA, STARK law,
Medicare Act, Anti-Kickback Act and the Whistleblowers Protection Act-28 U.S.C. §§ 1331, 1367, 1441, 1446
Brief description of cause:
Civil Rights and Federal laws violations as retribution for public corruption whistleblowing & fraud exposure

VII. REQUESTED IN _] CHECK IF THIS IS A CLASS ACTION DEMAND $ 1,700,000 CHECK YES only if demanded in complaint:

VI. CAUSE OF ACTION

COMPLAINT: UNDER RULE 23, F.R.Cv.P. JURY DEMAND;. ,KlYes [LNo
VIII. RELATED CASE(S) . VUANNEDVD
IF ANY ee instructions): nae f} Gay ihe DOCKETNUMBER USDGijl95416,04.206
] ii i kU teat
DATE e
1/10/2017 U.S. DISTRICT Comat st pain

FOR OFFICE USE ONLY

/

CASE 0:17-cv-00103-RWP Doc. 1-4 Filed 01/10/17 PAgavel 4 >

Ay.

IN THE FOURTH DISTRICT COURT RECEIVEn

OF THE STATE OF MINNESOTA

FOR THE COUNTY OF HENNEPIN JAN 10 2017
NANCY HULTMAN CLERK. US. DISTRICT Coury
KATHLEEN OLSEN AUL, MINNESOTA
Petitioners/Plaintifis,
Ve Court File Case #-27-TR-CV-16-89
JOHN WESTLEY
Respondent/Defendant .

: )

Notice of Removal to United States District Court
aE TO United states District Court
Respondent/Defendant John Westley in direct support of his Federal Removal Notice to this

lower court and all affected parties hereby states the following:

1. By the filing of this Removal Notice with the Clerk of this state lower court, together with the
attached and corresponding notice for removal that was filed in United States District Court,
these state district proceedings are now REMOVED, by automatic operation of presiding Federal
Law, and the Respondent/Defendant now. formally notifies this lower court and all parties of that
factual legal reality.

2. Pursuant to the express and specific language of 28 U.S.C. 1441, et seq. immediately upon the
filing of this Notice, with the lower court Clerk, this case was instantly removed; The removal of
jurisdiction from this lower court. is. automatic by operation of presiding Federal Law, and does
not require any additional written order from the lower court District Judge to cause this removal
to become “effective” — the removal is an automatic judicial event, and immediate by operation
of standing United States Jaw. .

3. The United States Supreme Court clarified and: d established i in 1966: “The petition is now filed
in the first instance in the federal court. After notice is given to all adverse parties and a copy of
the petition is filed with the state court, removal is effected and state court proceedings cease
unless the case is remanded(28 U. S. C. § 1446 (1964 ed.). See, American Law Institute, Study
of the Division of Jurisdiction Between State and Federal Courts, Tentative Draft No. 4, p. 153 et
seq. (April 25, 1966). ” Georgia v. Rachel, 384 U.S. 780, 809 n27, 86 S. Ct. 1783, 16 L. Ed. 2d

925 (1966) SCANNELL
JAN 4.0 2017

U.S. DISTRICT COURT ST PAU.

CASE 0:17-cv-00103-RWP Doc. 1-4 Filed 01/10/17 Page 15 of 23

4. Because this cause is now removed, this lower court is without jurisdiction to effect any
hearing or judgment in these proceedings (28 USC. § 1446(c)(3)).

5. The notice of removal to the United States District Court is attached hereto as required by the
express language under the Federal Courts Jurisdiction and Venue Clarification Act.

6. Higher Court jurisdiction is further required due to the unprofessional incompetence of
this lower court which libelously listed Respondent/Defendant’s living Mother as a
“Decedent” on the Notice of Hearing which was then ordered, by publicly corrupt unethical
Fourth District court officers, to be published in Hennepin County legal notice distributions.
7. Despite multiple requests to correct defaming public records and to prevent death notice
publications, Respondent/Defendant’s living Mother attorneys and material fact witnesses
in this action, E. Burke Hinds & Inrelex Law, have refused to protect their client’s welfare.

WHEREFORE, the undersigned Respondent/Defendant John Westley notifies this lower court
and all other interested parties that this cause is now removed, that this venue now has absolutely
no jurisdiction or proceeding standing for any judgment in this civil action, bar none, unless and
until the United States District Court may or may not remand, and further moves for all other
relief that is just and proper for due process timely justice and relief in the higher court premises.

Panama City FL 3740

CERTIFICATE OF SERVICE
[hereby certify that on this. date, a true and complete copy of the foregoing notice of removal to
Federal Court, with required attachment, by United States Postal Service mailing, hasbeen duly _
served upon the following Petitioner/Plaintiff attomey:

CASE 0:17-cv-00103-RWP Doc. 1-4 Filed 01/10/17 Page 16 of 23

IN THE UNITED STATES DISTRICT COURT |.

FOR MINNESOTA

NANCY HULTMAN
KATHLEEN OLSEN
Petitioners/Plaintiffs,
vs. Lower Court File Case #-27-TR-CV-16-89
JOHN WESTLEY
Respondent/Defendant

NOTICE OF REMOVAL

Pursuant to 28 U.S.C. §§ 1331, 1367, 1441, and. 1446, Respondent/Defendant John
Westley hereby denies all allegations and removes this action from the Hennepin County
Minnesota Fourth District Court to the United States District Court for Minnesota. __

Removal is based on USDC jurisdiction due to disputed federal questions, multiple state
diversity grounds, constitutional civil rights issues and precedential Federal Court related cases
that appears in the causes of action of the initial pleading filed by Petitioners/Plaintiffs Hultman
and Olsen. In support of its notice and grounds for removal, Respondent/Defendant Westley
states as follows:

TL Background

1. This case was .s originally filed by Petitioners/Plaintiffs in Hennepin County Minnesota Fourth
District Court, on August 30",.2016. In accordance with 28 U.S.C. § 1446(a), a copy of all
process, pleadings and orders received by Respondent/Defendant are attached as exhibits.

_ 2. In their filed pleadings, Petitioners/Plaintiffs allege that Respondent/Defendant has been
uncooperative due to communicating and associating with Department of Justice(DOJ)
investigators, Security and Exchange Commission(SEC File #005507928) regulators, and the
United States Attorney Office(USAGO) regarding reported fraudulent acts by Bank of
America(BOA).Merrill Lynch and court officers. According to the Petitioners/Plaintiffs’ filings,
the Respondent/Defendant Westley’s protected civic duty. cooperation with Federal law
enforcement - breached agreements, disrupted, and interfered with unlawful acts that
Petitioners/Plaintiffs Hultman and Olsen participated in for personal financial illegal gain.

3. With their filed allegations citing other ongoing USDC civil cases and whistleblower criminal

actions involving publically corrupt, convicted felonious governmental employees and disbarred
CASE 0:17-cv-00103-RWP Doc. 1-4 Filed 01/10/17 Page 17 of 23

court officers, . Petitioners/Defendants further frivolously claim, among other incoherent,
incorrect, and irrational matters, that the Respondent/Defendant failed to uphold fiduciary
responsibilities by refusing to participate in the administration of unlawful acts that are in known
violation of Federal laws, codes and statutes.
Il. The Notice of Removal is : Timely 3 Filed |

4. This lawsuit is a civil action within the meaning of the United States Acts of Congress relating
to removal of causes...
5. Respondent/Defendant re received a.copy of the initial pleadings by required process service on
September 13°, 2016.
6. The removal of this action to this Court is timely under 28 U.S.C.§ 1446(b) because this
Notice of Removal is filed within thirty (30) days after the September 13" 2016 service date.
7. The United States District Court for Minnesota is the proper place to file this original Notice
of Removal under 28 U.S.C. § 1441(a) because it is the Federal district court that embraces the
place where the original action was filed and is pending.

.. OL. This Court Has Federal Question Jurisdiction -
8. Petitioners/Plaintiffs allege claims against the Respondent/Petitioner governed under the
Federal Securities Exchange Act, Investment Advisors Act, Consumer Protection Act, RESPA
and the Whistleblowers Protection Act.. Further, Petitioners/Plaintiffs civil action attempts to
deny Respondent/Defendant Constitutional Civil Rights protections of Freedom of Speech and
Freedom to Associate with Federal law enforcement. Therefore, federal question jurisdiction
exists over Petitioners/Plaintiffs’ claims under 28 U.S.C. § 1331 because the resolution of stated
claims will require adjudication of disputed questions of Federal laws and Constitutionally
protected civil rights. 2
9. To the extent the lower court action alleges statutory, state common law or other nonfederal
claims, this Court has supplemental jurisdiction over any such claims under 28 U.S.C. § 1367
due to those claims arising out of the Same operative facts as Petitioners/Plaintiffs’ claims
governed under Federal. Securities Exchange Act, Investment Advisors Act, Consumer
Protection Act, RESPA and the Whistleblowers Protection Act. and “form part of the same case
or controversy under Article III of the United States Constitution. ” 28 U.S.C. § 1367(a).

CASE 0:17-cv-00103-RWP Doc. 1-4 Filed 01/10/17 Page 18 of 23

10. Because Plaintiffs’. claims involve the governing laws of the United States, removal of this
entire cause of action is appropriately required under 28 U.S.C. § 1441(a)-(c) and the Federal
Courts Jurisdiction and Venue Clarification Act.
_IV. Precedential Case Multiple Diversity
11. On July 15", 2016, well prior to the lower court case filing, Respondent/Defendant filed a
civil USDC whistleblower action in the Northern District of Florida (Case # 5:16-CV-206)
regarding subject matier banking fraud by BOA involving Petitioner/Plaintiff Olsen’s employer
Coldwell Banker. As such, this precedential multiple diversity higher court action supersedes any
lower court standing regarding disputed causes of action at issue governed by Federal laws,
codes, and statutes. Removal i is Tequired under separate independent grounds for subject-matter
jurisdiction regarding diversity and disputed Federal questions at issue.
__ V. Notice of Removal to the Lower Court
12. Concurrently with this Notice of Removal filing, Respondent/Defendant filed a copy of this
Notice with the Hennepin County Minnesota Fourth District Court. A copy of the written notice
of the Notice of Removal to Federal Court is attached. In accordance with 28 U. S.C. § 1446(d),
Respondent/Defendant will give written notice to Petitioners/Plaintiffs by contemporaneously
serving this Notice of Removal on their legal representative.
13. If any question arises as to the propriety of the removal of this action, Respondent/Defendant
respectfully request the opportunity to present a brief and oral argument in support of its position
that this case is removable. (See Sierminski v. Transouth Fin. Corp., 216 F.3d 945, 949 (11th Cir.
2000) (announcing general rule that post-removal evidence in assessing removal jurisdiction may
be considered by the Court).
14. Respondent/Defendant herein reserves all counter claims rights to move to consolidate
related Federal actions as required to preserve valuable public court resources.
VI. Conclusion

For the foregoing reasons, Respondent/Defendant respectfully notices that this civil action
is hereby completely removed to the United State District Court, and that the USDC immediately
assumes jurisdiction of all proceedings, and that this Court enter such other and further orders as
may be necessary to accomplish the stated removal to promote the ends of timely due process

justice.

Panatia C City FL 32402
CERTIFICATE OF SERVICE

I hereby certify that on this date, a true and complete copy of the foregoing filed removal notice

to Federal Court, with required attachment, by United States Postal Service mailing, has been
duly served upon the following Petitioner/Plaintiff attorney of record:

Justin H. Jenkins (M2 #0392625)

a

CASE 0:17-cv-00103-RWP Doc. 1-4 Filed 01/10/17 Page 20 of 23 |

State of Minnesota __ District Court
Hennepin County Judicial District: Fourth
Court File Number: 27-TR-CV-16-89
Case Type: Civil Probate

Nancy Hultman/Kathleen Olsen

Petitioner/Plaintiff(s)
Removal Notice-A ffidavit-Filing Service
vs.
John Westley
Respondent/Defendant(s)
STATE OF MINNESOTA | — . )
oe ~) SS
COUNTY OF .. Hennepin _)
(County where Affidavit signed) =

This form is only for civil cases within the scope of MN Rules of Civil Procedure.

I am the Respondent/Defendant i in this matter. 1 understand that I am under oath/affirmation and that I must tell
the truth. .

1. On October 11° 2016 I filed and served the Notice of Removal to Federal Court(Doc.1D#13) in the
United States. District Court of Minnesota. -

2. The Clerk of the Federal court personally informed me that the Plaintiffs/Petitioners have the
prosecution burden of their case within 30 days under United States codes, practices, and Rules of
Civil Procedure.

3. Ihave not received any notices, correspondence or mailings regarding this removed case from the
United States District Court of Minnesota.

4. Imailed a copy of the Notice of Removal and service affidavit to Plaintiffs/Petitioners attorney:

Justin H. Jenkins (MN #0392625) 225 South Sixth Street, Suite 3500 Minneapolis, MN 55402

Dated: October 21, 2016

Name: Westle

Signature sin ohly i in front of sc or court administrator.)
vv

Subscribed and Te before me

by: ohn West | oy Address: P.O. Box 346
Date:_ (0/2 20 ie City/State/Zip: Panama City FL 32402
CD: fo Abe — Telephone: 305-731-5500
_ NotarY Public \ Deputy Court Administrator

SOPH Distrietd ENG Rev 5/08 Page 1 of 1
CASE 0:17-cv-00103-RWP Doc. 1-4 Filed 01/10/17 Page 21 of 23

Referee George Borer ~ October 21, 2016
Hennepin County Government Center

400 Court Tower

300 South Sixth Street

Minneapolis, MN 55487-0340

Re: Court File No.: 27-TR-CV-16-89

I am contacting you as an objector in response to the prohibited. inaccurate, and
inappropriate letter sent to you by the attorney for the Petitioners. Enclosed please find an
affidavit of service of the Removal Notice to the Federal Court. Note that I have not received
any correspondence from United States District Court as mistakenly alleged by Mr. Jenkins.

a This:state court case has been closed and this Court has no further jurisdiction or
standing under Federal law. Mr. Jenkins improperly filed the action and is simply venue
shopping with’! ‘his current request to cover for his firm’ S procedural errors. Mr. Jenkins has

[365-731-5500

oes 8 oe@e ee eo eh ee oO eo el whl OhUlc hUc Ul Hh Hl

CASE 0:17-cv-00103-RWP Doc. 1-4 Filed 01/10/17 Page 22 of 23

State of Minnesota District Court

Hennepin County: |: | Judicial District: ’ Fourth
nS s ee PL Court File Number: . 27-TR-CV-16-89
Case Type: Civil Probate

Nancy Hultman/Kathleen C Olse

Petitioner/Plaintifi(s)
Disputed Incapacitation
Determination Notice

vs. os

John Westley _
Respondent/Defendant(s)’
STATE OF MINNESOTA )

ve. —  -») Ss

COUNTY OF _____Hennepin _)

~~ Civil case within the scope of MN Rules of Civil Procedure.

I am the Respondent/Defendant in this matter. .

1. On August 30% 2016 this Court was provided an n Incapacitation Determination(Petition-Exhibit 2)
that was fraudulently obtained, ineffectual and unlawfully proffered.

2. As previously noticed to this and other court: officials, my Mother is not dead and her attorney of
record H. Burke Hinds, as the legal custodian of her records, cannot produce complete, accurate
and unaltered copies of the records at issue as demanded by the objectors.

3. A portion of these issues have been removed to United States District Courts and are sealed under
Federal law enforcemént review.

4. With this filing I dispute, rescind, reject and retract any Incapacitation Determinations filed under
tay name. As such, the Trust in question remains under the control of my living Mother and this

closed « action i is rendered moot.

October 27, 2016

s/John Westley
P.O. Box 346

Panama City FL 32402
Telephone: 305-731-5500

SOPHHE District4 ENG Rev 5/08 . Page 1 of 4
CASE 0:17-cv-00103-RWP Doc. 1-4 Filed 01/10/17 PREP oe ™ 70/8 R Pr

CERTIFICATE OF SERVICE
I hereby certify that a true and complete copy of the foregoing filed Federal Court Complaint &
Injunctive Relief Requests, with required attachments, has been duly served via Minnesota
Judicial Branch Odyssey Electronic Filing systems upon:
DEFENDANT HENNEPIN COUNTY-4th DISTRICT COURT, et al
DEFENDANT GEORGE F. BORER, et al

“0. Box 34
Panama City FL 324

SCANNED
13 JAN 1 0 2017

US. DISTRICT COURT ST. Pau;
